Case 3:21-md-03004-NJR Document 218 Filed 08/11/21 Page 1 of 31 Page ID #107




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS


 In re: PARAQUAT PRODUCTS                     Case No. 3:21-md-3004-NJR
 LIABILITY LITIGATION
                                              MDL No. 3004
 This Document Relates to All Cases



                             PROTECTIVE ORDER

ROSENSTENGEL, Chief Judge:

      As directed in Case Management Order No. 5 (Doc. 203), lead counsel for the

parties have proposed the following protective order. Having reviewed the terms, the

Court APPROVES the parties’ proposal and ORDERS as follows:

I.    Purpose and Limitations

      1.    The Parties agree and are entering into this Stipulated Protective Order with

            a goal toward moving this case forward in a speedy, collaborative, and

            efficient manner, while also balancing the public interest in access to

            information concerning the matters addressed in this litigation.

      2.    Disclosure and discovery activity in this action and related actions are likely

            to involve production of confidential, proprietary, or private information

            for which special protection from public disclosure and from use for any

            purpose other than prosecuting or defending this litigation may be

            warranted. Accordingly, the Parties hereby stipulate to and request that the

            Court enter the following Stipulated Protective Order (“Order”). The




                                     Page 1 of 31
Case 3:21-md-03004-NJR Document 218 Filed 08/11/21 Page 2 of 31 Page ID #108




            Parties acknowledge that this Order governs discovery in In Re: Paraquat

            Products Liability Litigation, No. 3:21-md-03004-NJR. This order shall apply

            to all cases currently pending in MDL No. 3004 and to all related actions

            that have been or will be originally filed in, transferred to, or removed to

            this Court and assigned hereto.

      3.    The Parties have attempted to utilize and adopt the September 11, 2018

            Protective Order (as subsequently amended) from the Hoffmann Litigation

            to the extent possible in drafting this Order, with necessary clarifications

            and changes to make it suitable for MDL litigation.

      4.    This Order is binding on all Parties and their counsel in all cases currently

            pending and subsequently made part of these MDL proceedings, and shall

            govern each case in the proceedings. The purpose of this Order is to

            expedite the flow of discovery material, facilitate the prompt resolution of

            disputes over confidentiality, and protect material to be kept confidential,

            pursuant to the Court’s inherent authority, its authority under Federal Rule

            of Civil Procedure 26(c), and the judicial opinions interpreting such Rules.

      5.    The Parties acknowledge that this Order does not confer blanket

            protections on all disclosures or responses to discovery and that the

            protection it affords from public disclosure and use extends only to the

            limited information or items that are entitled to confidential treatment

            under the applicable legal principles.




                                    Page 2 of 31
Case 3:21-md-03004-NJR Document 218 Filed 08/11/21 Page 3 of 31 Page ID #109




      6.       This Order shall not abrogate or diminish any statutory, or other legal

               obligation or right of any Party or person with respect to any Confidential

               Information.

      7.       The recipient of any Confidential Information hereby agrees to subject

               himself/herself to the jurisdiction of this Court for the purpose of any

               proceedings related to the performance under, compliance with, or

               violations of this Order.

II.   Definitions

      8.       Action: This pending lawsuit, In Re: Paraquat Products Liability Litigation,

               No. 3:21-md-03004-NJR, including any amendments thereto, and all cases

               that have been or will be originally filed in, transferred to, or removed to

               this Court and assigned thereto.

      9.       Challenging Party: Party that challenges the designation of information or

               items under this Order.

      10.      Confidential Information or Items: Information (regardless of how it is

               generated, stored or maintained) or tangible things that qualify for

               protection under Federal Rule of Civil Procedure 26(c), or other federal or

               state laws, rules, or regulations, which may include:

            (a) Information protected from disclosure by statute or regulation;

            (b) Information that constitutes a trade secret in accordance with the federal

               Defend Trade Secrets Act, the Uniform Trade Secrets Act, or state trade

               secrets statutes;


                                           Page 3 of 31
Case 3:21-md-03004-NJR Document 218 Filed 08/11/21 Page 4 of 31 Page ID #110




         (c) Non-public communications with regulators or other governmental bodies

            that are protected from disclosure by statute or regulation;

         (d) Information that includes material protected by federal, state, or foreign

            data protection laws or other privacy obligations, including, but not limited

            to:

                   x   The Health Insurance Portability and Accountability Act, 45
                       CFR Part 160 and Subparts A and E of Part 164;

                   x   The EU General Data Protection Regulation (Regulation (EU)
                       2016/679);

                   x   The UK Data Protection Act of 2018 (c. 12 (U.K.));

                   x   The Brazilian General Data Protection Law, Federal Law no.
                       13,709/2018 (August 15, 2018);

                   x   The Law of the People’s Republic of China on Guarding State
                       Secrets (promulgated by the Standing Committee of the Nat’l
                       People’s Cong., amended on April 29, 2010, effective on October
                       1, 2010);

                   x   The Cybersecurity Law of the People’s Republic of China
                       (promulgated by the Standing Committee of the Nat’l People’s
                       Cong., effective on June 1, 2017);

                   x   The Data Security Law of the People’s Republic of China
                       (promulgated by the Standing Committee of the Nat’l People’s
                       Cong., will take effect on September 1, 2021);

                   x   The Draft Personal Information Protection Law (Bill for Second
                       Deliberation) (promulgated by the Standing Committee of the
                       Nat’l People’s Cong., April 29, 2021 draft for public comment);

                   x   The Singapore Personal Data Protection Act of 2012 (No. 26 of
                       2012) (October 15, 2012);

                   x   The Swiss Federal Act on Data Protection of 19 June 1992;

                   x   Swiss Federal Act on the Amendment of the Swiss Civil Code of
                       30 March 1911; Part Five: The Code of Obligations;


                                    Page 4 of 31
Case 3:21-md-03004-NJR Document 218 Filed 08/11/21 Page 5 of 31 Page ID #111




         (e) Personally identifiable information (“PII”), including: Social Security

            Numbers; health information relating to the past, present or future physical

            or mental health or condition of an individual; the provision of health care

            to an individual, or the past present, or future payment for the provision of

            health care to an individual; personal financial information such as tax

            information, bank account numbers, and credit card numbers; insurance

            claim numbers; insurance policy numbers; or the personal email addresses

            or other contact information of company board members, executives, and

            employees; and/or

         (f) Information, materials, and/or other documents reflecting non-public

            business   or   financial   strategies,   and/or   confidential   competitive

            information which, if disclosed, would result in competitive harm to the

            disclosing Party.

            However, Confidential Information shall not include:

            i. Any information that is in the public domain at the time of disclosure to

               a Receiving Party, or becomes part of the public domain after its

               disclosure to a Receiving Party as a result of publication not involving a

               violation of this Order. This includes any public information posted by

               a Party that subsequently is made unavailable by removal from the

               public’s view (e.g., deleted or closed social media posts); and/or

            ii. Any information known to the Receiving Party prior to the disclosure

               or lawfully obtained by the Receiving Party after the disclosure from a


                                    Page 5 of 31
Case 3:21-md-03004-NJR Document 218 Filed 08/11/21 Page 6 of 31 Page ID #112




               source who obtained the information lawfully and under no obligation

               of confidentiality to the Designating Party.

            As described in Section V below, Confidential Information shall be affixed

            with a “Confidential - Paraquat Litigation” designation, consistent with

            how such materials were marked in the Hoffmann Litigation.

      11.   “Confidential - Attorney Eyes Only” Information or Items: Information that

            is so extremely sensitive in nature the disclosure of such material will put

            the Producing Party at a significant competitive disadvantage, and such

            that protecting the information cannot be avoided by less restrictive means

            than designation as “Confidential - Attorney Eyes Only.” This includes

            current or past product formulas, ingredients, specifications, recipes, and

            manufacturing processes or technologies. This also includes information

            previously produced by Syngenta from Kynetec USA, Inc., pursuant to the

            July 1, 2019 Stipulated Amendment to Protective Order in the Hoffmann

            Litigation.

      12.   Counsel (without qualifier): Outside Counsel and In-House Counsel (as

            well as their support staff).

      13.   Designating Party: Party or Non-Party that designates information or

            tangible items that it produces in disclosures or in responses to discovery

            as “Confidential - Paraquat Litigation” or “Confidential - Attorney Eyes

            Only.”




                                     Page 6 of 31
Case 3:21-md-03004-NJR Document 218 Filed 08/11/21 Page 7 of 31 Page ID #113




      14.   Disclosure or Discovery Material: All items or information, regardless of

            the medium or manner in which it is generated, stored, or maintained

            (including, among other things, testimony, transcripts, and tangible things),

            that are produced or generated in disclosures or responses to discovery in

            this matter, including but not limited to, answers to interrogatories,

            responses to requests for production, responses to requests for admission,

            and transcripts of depositions and hearings (or portions of such transcripts).

      15.   Expert: A person who has been retained by a Party or its counsel to serve

            as an expert witness or as an undisclosed consultant in this Action (as well

            as his or her employees and support staff).

      16.   Hoffmann Litigation: The case captioned Hoffmann, et al. v. Syngenta, et al.,

            No. 17-L-517, Cir. Ct., 20th Jud. Cir., St. Clair Cnty., Ill.

      17.   In-House Counsel: Attorneys who are employees of a Party to this Action.

            In-House Counsel does not include any Outside Counsel retained by a

            Party to this Action.

      18.   Non-Party: Any natural person, partnership, corporation, association, or

            other legal entity not named as a Party to this Action.

      19.   Outside Counsel: Attorneys who are not employees of a Party to this Action

            but are retained to represent or advise a Party to this Action and/or have

            appeared in this Action on behalf of that Party or are affiliated and/or

            associated with a law firm which has appeared on behalf of that Party, and




                                      Page 7 of 31
Case 3:21-md-03004-NJR Document 218 Filed 08/11/21 Page 8 of 31 Page ID #114




               their support staff, who have access to documents designated “Confidential

               - Attorney Eyes Only” for use in this Action.

       20.     Party: Any party to this Action, including all of its officers, directors,

               employees, consultants, Experts, and Outside Counsel (and their support

               staffs).

       21.     Producing Party: Party or Non-Party that produces Disclosure or Discovery

               Material in this Action.

       22.     Professional Vendors: Persons or entities that provide litigation support

               services (e.g., photocopying, videotaping, translating, preparing exhibits or

               demonstrations, and organizing, storing, or retrieving data in any form or

               medium) and their employees and subcontractors.

       23.     Protected Material: Any Disclosure or Discovery Material that is designated

               as “Confidential - Paraquat Litigation” or “Confidential - Attorney Eyes

               Only.”

       24.     Receiving Party: A Party that received Disclosure or Discovery Material

               from a Producing Party.

III.   Scope

       25.     The protections conferred by this Order apply to not only Protected

               Material (as defined above), but also to: (1) any information copied or

               extracted from Protected Material; (2) all copies, excerpts, summaries, or

               compilations of Protected Material; and (3) any oral, written, or electronic




                                          Page 8 of 31
Case 3:21-md-03004-NJR Document 218 Filed 08/11/21 Page 9 of 31 Page ID #115




            communications, testimony or presentation by Parties or their Counsel that

            might reveal Protected Material.

      26.   This Order and its protections apply for pre-trial purposes only. This Order

            does not govern the use of Protected Materials at trial. The Parties will meet

            and confer at the appropriate time regarding any use of Protected Material

            at trial, which use shall be governed by a separate agreement or order.

IV.   Duration

      27.   Even after final disposition of this Action, the confidentiality obligations

            imposed by this Order shall remain in effect until a Designating Party

            agrees otherwise in writing, or a court order otherwise directs. Final

            disposition shall be deemed to be the later of: (1) dismissal of all claims and

            defenses in this Action, with or without prejudice; and (2) final judgment

            herein after the completion and exhaustion of all appeals, re-hearings,

            remands, trials, or reviews of this Action, including the time limits for filing

            any motions or applications for extension of time pursuant to applicable

            law. The Court retains jurisdiction even after termination of this Action to

            enforce this Order and to make such amendments, modifications, deletions,

            and additions to this Protective Order as the Court from time to time deem

            appropriate.

V.    Designating Protected Material

      28.   Except as specified in Paragraphs 29 or 30 below, each Party or Non-Party

            that designates information or items as “Confidential - Paraquat Litigation”



                                     Page 9 of 31
Case 3:21-md-03004-NJR Document 218 Filed 08/11/21 Page 10 of 31 Page ID #116




            or “Confidential - Attorney Eyes Only” under this Order must make good-

            faith reasonable efforts to limit any such designation to material that

            qualifies under the appropriate standards. Designations that are clearly

            unjustified or that have been made for an improper purpose (e.g., to

            unnecessarily encumber or retard the case development process or to

            impose unnecessary expenses and burdens on other Parties) are prohibited.

      29.   To expedite production of potentially voluminous materials, a Producing

            Party may, but is not required to, produce materials without a detailed

            confidentiality review. In so doing, the Producing Party may designate

            those collections of documents that by their nature contain Confidential

            Information or Items with the appropriate designation notwithstanding

            that some of the documents within the collection may not qualify for such

            designation. A Producing Party may also utilize a filter or other software to

            make confidentiality designations without a detailed document-by-

            document confidentiality review. Any Receiving Party may, however,

            challenge these designations in accordance with the process laid out in

            Section VI, below.

      30.   The Syngenta Defendants and the Chevron Defendants have previously

            made voluminous productions of documents in the Hoffmann Litigation.

            For various reasons, many of those productions were made without

            detailed confidentiality review, and confidentiality designations were done

            in accordance with paragraph 29, above. The Parties agree that in re-


                                    Page 10 of 31
Case 3:21-md-03004-NJR Document 218 Filed 08/11/21 Page 11 of 31 Page ID #117




            producing those documents in this litigation, neither Syngenta nor Chevron

            is under any obligation to conduct a detailed confidentiality review of those

            documents, and they may be produced with the same confidentiality

            designations they bore in the Hoffmann Litigation. Any Receiving Party

            may, however, challenge those designations in accordance with the process

            laid out in Section VI, below.

      31.   Except as otherwise provided in this Order or as otherwise stipulated or

            ordered, Disclosure or Discovery Material that qualifies for protection

            under this Order must be clearly so designated before the material is

            disclosed or produced.

      32.   Designation in conformity with this Order requires:

            (a)    For information in documentary form (e.g., paper or electronic

                   documents, but excluding transcripts of depositions or other pretrial

                   or trial proceedings), that the Producing Party affix the legend

                   “Confidential - Paraquat Litigation” or “Confidential - Attorney

                   Eyes Only” to each page of a paper or electronic document that

                   contains protected material or to the cover page of bound or grouped

                   material.

            (b)    A Party or Non-Party that makes original documents or materials

                   available for inspection need not designate them for protection until

                   after the inspecting Party has indicated which material it would like

                   copied and produced. During the inspection and before the


                                     Page 11 of 31
Case 3:21-md-03004-NJR Document 218 Filed 08/11/21 Page 12 of 31 Page ID #118




                  designation, all of the material made available for inspection shall be

                  treated as “Confidential - Attorney Eyes Only.” After the inspecting

                  Party has identified the documents it wants copied and produced,

                  the Producing Party must determine which documents, or portions

                  thereof, qualify for protection under this Order. Then, before

                  producing the specified documents, the Producing Party must affix

                  the “Confidential - Paraquat Litigation” or “Confidential - Attorney

                  Eyes Only” legend to each page of a paper or electronic document

                  that contains Protected Material.

            (c)   A Party may designate documents produced by a Non-Party as

                  “Confidential - Paraquat Litigation” or “Confidential - Attorney

                  Eyes Only” if the document contains information for which that

                  Party would have a right to apply the proposed designation if

                  produced by that Party, by notifying all other Parties of the

                  designation within a reasonable period of time after the production

                  of documents by the Non-Party.

            (d)   For testimony given in deposition or in other pretrial proceedings,

                  in the event that a Producing Party designates some or all of a

                  witness’s deposition or other testimony as “Confidential - Paraquat

                  Litigation” or “Confidential - Attorney Eyes Only,” the specific page

                  and line designations over which confidentiality is claimed must be

                  provided to the Receiving Party within thirty (30) days of receipt of


                                   Page 12 of 31
Case 3:21-md-03004-NJR Document 218 Filed 08/11/21 Page 13 of 31 Page ID #119




                  the final transcript, provided, however, that the Receiving Party will

                  consider reasonable requests for an extension of the deadline.

                  Deposition testimony shall be treated as “Confidential - Attorney

                  Eyes Only,” pending the deadline. After the 30-day period, if no

                  Party has designated some or all of that deposition transcript as

                  “Confidential - Paraquat Litigation” or “Confidential - Attorney

                  Eyes Only” under this Protective Order, the entire deposition, or

                  those portions of the deposition not designated as Confidential

                  Information, will no longer be considered Confidential Information.

            (e)   For information produced in some form other than documentary

                  and for any other tangible items, the Producing Party shall affix in a

                  prominent place on the exterior of the container or containers in

                  which the information or item is stored the legend “Confidential -

                  Paraquat Litigation” or “Confidential - Attorney Eyes Only.” If only

                  a portion or portions of the information or item warrant protection,

                  the Producing Party, to the extent practicable, shall identify the

                  protected portion(s). With respect to documents produced in native

                  format, the ESI Protocol to be entered in this Action shall govern the

                  form and method for marking such documents as Protected

                  Information. When possible, in order to minimize the likelihood of

                  inadvertent   disclosure of confidential      information   for   any

                  information transmitted by electronic means, the Producing Party


                                   Page 13 of 31
Case 3:21-md-03004-NJR Document 218 Filed 08/11/21 Page 14 of 31 Page ID #120




                    shall make a good faith effort to notify the Receiving Party of the fact

                    that confidential information is being produced.

       33.   Disclosure of “Confidential - Paraquat Litigation” or “Confidential -

             Attorney Eyes Only” Information does not waive the confidential status of

             such Information. In the event that Protected Information is disclosed

             without a marking or designation of it as such, the Producing Party may

             thereafter assert a claim or designation of confidentiality, and promptly

             provide replacement information or items with the appropriate designation

             (and, if applicable, using the same Bates number as the original

             production). Thereafter, the Receiving Party must immediately return or

             destroy the original Protected Information and all copies of the same, and

             make no use of such Information.

 VI.   Challenging Confidentiality Designations

       34.   Any Party may challenge a designation of confidentiality at any time that

             is consistent with the Court’s Scheduling Order.

       35.   The Challenging Party shall object to the propriety of the designation of

             specific material as “Confidential - Paraquat Litigation” or “Confidential -

             Attorney Eyes Only” by providing written notice to the Designating Party

             of each designation it is challenging and describing the basis for each

             challenge. To avoid ambiguity as to whether a challenge has been made, the

             written notice must recite that the challenge to confidentiality is being made

             in accordance with this specific Section of this Order. The parties shall


                                     Page 14 of 31
Case 3:21-md-03004-NJR Document 218 Filed 08/11/21 Page 15 of 31 Page ID #121




              thereafter, within twenty-one (21) days or as otherwise agreed, meet and

              confer in an effort to resolve any disagreements. At the conclusion of that

              twenty-one day period, the Challenging Party shall provide a list of the

              designations that remain at issue (“Disputed Designations”). Counsel may

              agree to reasonable extensions.

        36.   Within fourteen (14) days of receipt of the Disputed Designations, the

              Designating Party shall file a motion with the Court seeking relief. The

              Challenging Party shall file a response brief, if any, within fourteen (14)

              days thereafter. Consistent with local rules, no reply brief shall be filed

              except in exceptional circumstances. SDIL–LR 7.1(g). The burden of

              persuasion in any such dispute shall be on the Designating Party. Unless

              the Designating Party has expressly waived the confidentiality designation

              or until the Court has ruled on the disputed at-issue designation, all Parties

              shall continue to afford the material in question the level of protection

              designated by the Producing Party.

 VII.   Access to and Use of Protected Materials

        37.   A Receiving Party may use Protected Material that is disclosed or produced

              by another Party or by a Non-Party in connection with this case only for

              prosecuting or defending this litigation, including any appeal(s), so long as

              such use is permitted herein. Such Protected Material may be disclosed only

              to the categories of persons and under the conditions described in this

              Order. When the litigation has been terminated, a Receiving Party must


                                      Page 15 of 31
Case 3:21-md-03004-NJR Document 218 Filed 08/11/21 Page 16 of 31 Page ID #122




            comply with the provisions of Section XV below. Protected Material must

            be stored and maintained by a Receiving Party at a location and in a secure

            manner that ensures that access is limited to the persons authorized under

            this Order. Outside of the context of this litigation, or pursuant to a

            protective order entered between the parties in a pending state court action,

            no Party or their representative, agent, or independent contractor may

            contact any person whose identity or contact information is ascertained

            from any Protected Material, including through telephone, text messaging,

            social media, and/or Internet message boards.

      38.   Deponents and witnesses (and their counsel, if applicable) during a

            deposition or hearing may be shown or examined on any information,

            document or thing designated Protected Material if such person has signed

            the Acknowledgment and Agreement to Be Bound (Exhibit A). However,

            the following witnesses may be shown or examined on Protected Materials:

            (a)   Any individual named in Paragraph 40 below;

            (b)   if it appears from the face of the document that the witness authored

                  or received or reviewed a copy of it, or knew the information

                  described therein;

            (c)   the witness was employed by or served as a consultant to the

                  Producing Party (i) at the time the information, document or thing

                  was created or (ii) at any time, so long as the deponent/witness’s

                  scope of employment or consultancy encompassed subject matters


                                    Page 16 of 31
Case 3:21-md-03004-NJR Document 218 Filed 08/11/21 Page 17 of 31 Page ID #123




                   addressed in the Protected Material sought to be shown or examined

                   on;

            (d)    the witness is a current employee of the Producing Party (or is the

                   Producing Party);

            (e)    the witness is a relative of a plaintiff; or

            (f)    the witness is being produced to testify pursuant to Fed. R. Civ. P.

                   30(b)(6).

      39.   Counsel shall have the right to exclude any person who is not authorized

            by this Order to receive documents or information designated as Protected

            Materials from any deposition where testimony regarding Protected

            Materials or the use of Protected Materials is likely to arise, but only during

            periods of examination or testimony directed to or comprising Protected

            Material. This paragraph does not apply to the deponent.

      40.   A Receiving Party may disclose any information or item designated

            “Confidential - Paraquat Litigation” only to:

            (a)    The Receiving Party’s Outside Counsel in this Action, as well as

                   employees of said Outside Counsel to whom it is reasonably

                   necessary to disclose the information for this litigation;

            (b)    The Parties to the litigation, including Plaintiffs and Defendants,

                   including current or former directors, officers, employees (including

                   In-House Counsel), agents, contractors, and representatives of the




                                     Page 17 of 31
Case 3:21-md-03004-NJR Document 218 Filed 08/11/21 Page 18 of 31 Page ID #124




                  Parties to whom disclosure is reasonably necessary for the purpose

                  of assisting in the prosecution or defense of the Action;

            (c)   Experts retained by the Producing Party and their staff;

            (d)   Experts retained by the Receiving Party and their staff to whom

                  disclosure is reasonably necessary for this Action and who have

                  signed the “Acknowledgment and Agreement to Be Bound” (Exhibit

                  A);

            (e)   The Court and its personnel, and any appellate court or other court

                  (and their personnel) before which the Parties appear in this Action;

            (f)   Court reporters, videographers, and their staff;

            (g)   Professional jury or trial consultants, and mock jurors, and

                  Professional Vendors to whom disclosure is reasonably necessary for

                  this Action;

            (h)   Deponents and witnesses (and their counsel, if applicable) during a

                  deposition, hearing, or deposition preparation consistent with

                  Paragraph 38, above;

            (i)   The author or recipient of a document containing the information or

                  a custodian or other person who otherwise possessed or knew the

                  information;

            (j)   Any other person as to whom the Designating Party has consented

                  to disclosure in advance;

            (k)   Special masters or discovery referees appointed by the Court;


                                   Page 18 of 31
Case 3:21-md-03004-NJR Document 218 Filed 08/11/21 Page 19 of 31 Page ID #125




            (l)   Mediators or settlement officers, and their supporting personnel,

                  mutually agreed upon by any of the Parties engaged in settlement

                  discussions; and/or

            (m)   Such other persons as may be ordered by the Court, after the

                  Designating Party has had an opportunity to be heard.

      41.   A Receiving Party’s Outside Counsel may disclose any information or item

            designated “Confidential - Attorney Eyes Only” only to:

            (a)   Employees of said Outside Counsel to whom it is reasonably

                  necessary to disclose the information for this litigation;

            (b)   Defendants’ directors, officers, and employees (including In-House

                  Counsel) to whom disclosure is reasonably necessary for the

                  purpose of assisting in the prosecution or defense of the Action for

                  use in accordance with this Protective Order;

            (c)   Experts retained by the Producing Party and their staff;

            (d)   Experts retained by the Receiving Party and their staff to whom

                  disclosure is reasonably necessary for this Action and who have

                  signed the “Acknowledgment and Agreement to Be Bound” (Exhibit

                  A);

            (e)   The court and its personnel, and any appellate court or other court

                  (and their personnel) before which the Parties appear in this Action;

            (f)   Court reporters, videographers, and their staff;




                                   Page 19 of 31
Case 3:21-md-03004-NJR Document 218 Filed 08/11/21 Page 20 of 31 Page ID #126




             (g)   Professional jury or trial consultants, mock jurors, and Professional

                   Vendors to whom disclosure is reasonably necessary for this Action;

             (h)   Deponents and witnesses (and their counsel, if applicable) during a

                   deposition, hearing, or deposition preparation consistent with

                   Paragraph 38, above;

             (i)   The author or recipient of a document containing the information or

                   a custodian or other person who otherwise possessed or knew the

                   information;

             (j)   Persons who prepared, received, or reviewed the “Confidential -

                   Attorney Eyes Only” Information prior to its production;

             (k)   Any other person as to whom the Designating Party has consented

                   to disclosure in advance;

             (l)   Special masters or discovery referees appointed by the Court;

             (m)   Mediators or settlement officers, and their supporting personnel,

                   mutually agreed upon by any of the Parties engaged in settlement

                   discussions; and/or

             (n)   Such other persons as the parties may agree or may be ordered by

                   the Court.

 VIII. Information Filed with the Court

       42.   The fact that information or material has been designated as “Confidential

             - Paraquat Litigation” or “Confidential - Attorney Eyes Only” is not




                                    Page 20 of 31
Case 3:21-md-03004-NJR Document 218 Filed 08/11/21 Page 21 of 31 Page ID #127




            determinative of whether such information is, in fact, entitled to be deemed

            as such.

      43.   Filing by the Designating Party: The Designating Party may file designated

            Protected Material under seal or in redacted form per Local Rule 5.1(d)

            provided that contemporaneous with the filing, the Designating Party

            submits a separate motion and supporting declaration demonstrating good

            cause why the Protected Material meets the Seventh Circuit’s standards for

            maintaining the designated Protected Material under seal or in redacted

            form. Within 10 days of the filing of this separate motion, a Receiving Party

            may challenge the Designating Party’s motion to maintain the Protected

            Material under seal or in redacted form. Consistent with local rules, no

            reply brief shall be filed except in exceptional circumstances. SDIL–LR

            7.1(g).

      44.   Filing by a Receiving Party: A Receiving Party shall file provisionally under

            seal or with redactions per Local Rule 5.1(d) any material designated by a

            Designating Party as Protected Material. The Designating Party shall then

            have 10 days after the Receiving Party’s filing to submit a separate motion

            and supporting declaration demonstrating good cause why the Protected

            Material should be maintained under seal or in redacted form. Within 10

            days of the filing of this separate motion, a Receiving Party may challenge

            the sealing or redaction. Consistent with local rules, no reply brief shall be

            filed except in exceptional circumstances. SDIL–LR 7.1(g).


                                    Page 21 of 31
Case 3:21-md-03004-NJR Document 218 Filed 08/11/21 Page 22 of 31 Page ID #128




       45.   The time frames set forth above may be extended by agreement of the

             parties or Court order in individual instances.

       46.   The process set forth above does not apply to motions regarding

             confidentiality designation disputes, which are governed by Section VI

             above.

 IX.   Security of Protected Material

       47.   Any person in possession of another Party’s Protected Material shall

             exercise the same care with regard to the storage, custody, or use of

             Protected Material as they would apply to their own material of the same

             or comparable sensitivity. Receiving Parties must take reasonable

             precautions to protect Protected Material from loss, misuse and

             unauthorized access, disclosure, alteration, and destruction.

       48.   If the Receiving Party discovers a breach of security relating to the Protected

             Material of a Producing Party, the Receiving Party shall: (1) provide written

             notice to the Producing Party of the breach within 48 hours of the Receiving

             Party’s discovery of the breach; (2) investigate and remediate the effects of

             the breach, and provide the Producing Party with reasonable assurance that

             the breach shall not recur; and (3) provide sufficient information about the

             breach so that the Producing Party can ascertain the size and scope of the

             breach. The Receiving Party agrees to cooperate with the Producing Party

             and/or law enforcement in investigating any such security incident.




                                     Page 22 of 31
Case 3:21-md-03004-NJR Document 218 Filed 08/11/21 Page 23 of 31 Page ID #129




 X.   Protected Material Subpoenaed or Ordered Produced in Other Litigation

      49.   If a Receiving Party is served with a subpoena or a court order issued in

            other litigation that would compel disclosure of any information or items

            designated in this Action as “Confidential - Paraquat Litigation” or

            “Confidential - Attorney Eyes Only” the Receiving Party must:

            (a)   Within two (2) days if compliance is due in less than ten (10) days,

                  or at least seven (7) business days before compliance is due in more

                  than ten (10) days, notify in writing the Outside Counsel for the

                  Designating Party (by email, if possible) unless prohibited by law

                  from doing so. Such notification must include a copy of the subpoena

                  or court order;

            (b)   Within two (2) days if compliance is due in less than ten (10) days,

                  or at least seven (7) business days before compliance is due in more

                  than ten (10) days, notify in writing the party who caused the

                  subpoena or order to issue in the other litigation that some or all of

                  the material covered by the subpoena or order is subject to this

                  Order. Such notification shall include a copy of this Order; and

            (c)   Cooperate with respect to all reasonable procedures sought to be

                  pursued by the Designating Party whose Protected Material may be

                  affected.

      50.   If the Designating Party timely seeks a protective order, the Receiving Party

            served with the subpoena or court order shall not produce any information


                                    Page 23 of 31
Case 3:21-md-03004-NJR Document 218 Filed 08/11/21 Page 24 of 31 Page ID #130




              designated in this Action as “Confidential - Paraquat Litigation” or

              “Confidential - Attorney Eyes Only” before a determination by the court

              from which the subpoena or order issued, unless the Party has obtained the

              Designating Party’s permission. The Designating Party shall bear the

              burden and expense of seeking protection in that court of its confidential

              material, and nothing in these provisions should be construed as

              authorizing or encouraging a Receiving Party in this Action to disobey a

              lawful directive from another court or violate any applicable state or federal

              law, rules, or regulations.

 XI.    Party’s Own Information

        51.   The restrictions on the use of “Confidential - Paraquat Litigation” or

              “Confidential - Attorney Eyes Only” Information established by this

              Protective Order are applicable only to the use of the Information received

              by a Party from another Party or from a Non-Party.

        52.   Nothing herein shall impose any restrictions on the use or disclosure by a

              Party or witness of documents, material, or information lawfully obtained

              by such Party or witness independently of the discovery proceedings in

              these actions, whether or not such documents, material or information are

              also obtained through discovery proceedings in these actions.

 XII.   A Non-Party’s Protected Material Sought to be Produced in this Litigation

        53.   The terms of this Order are applicable to information produced by a Non-

              Party in this Action and designated as “Confidential - Paraquat Litigation”



                                      Page 24 of 31
Case 3:21-md-03004-NJR Document 218 Filed 08/11/21 Page 25 of 31 Page ID #131




             or “Confidential - Attorney Eyes Only.” Such information produced by

             Non-Parties in connection with this litigation is protected by the remedies

             and relief provided by this Order. Nothing in these provisions should be

             construed as prohibiting a Non-Party from seeking additional protections.

             Any Party issuing a subpoena to a Non-Party shall enclose a copy of this

             Order.

       54.   In the event that a Party is required, by a valid discovery request, to

             produce a Non-Party’s Protected Material in its possession, then the Party

             shall (i) promptly notify in writing the requesting party and the Non-Party;

             (ii) provide the Non-Party with a copy of the Order in this litigation, the

             relevant discovery request(s), and a reasonably specific description of the

             information requested; and (iii) make the information requested available

             for inspection by the Non-Party.

       55.   If the Non-Party fails to object or seek a protective order from this Court

             within fourteen (14) days of receiving the notice and accompanying

             information, the Receiving Party may produce the Non-Party’s Protected

             Material responsive to the discovery request. If the Non-Party timely seeks

             a protective order, the Receiving Party shall not produce such information

             before determination by the Court.

 XIII. Unauthorized Disclosure of Protected Material

       56.   If a Receiving Party learns that, by inadvertence or otherwise, it has

             disclosed Protected Material to any person or in any circumstance not


                                    Page 25 of 31
Case 3:21-md-03004-NJR Document 218 Filed 08/11/21 Page 26 of 31 Page ID #132




            authorized under this Order, the Receiving Party must immediately (a)

            notify in writing the Designating Party of the unauthorized disclosure(s),

            (b) use its best efforts to retrieve all unauthorized copies of the Protected

            Material, (c) inform the person or persons to whom unauthorized

            disclosures were made of all the terms of this Order, and (d) request such

            person or persons to execute the “Acknowledgment and Agreement to Be

            Bound” that is attached hereto as Exhibit A. This shall not limit any

            remedies that the Designating Party may have for disclosure of Protected

            Material.

 XIV. Miscellaneous

      57.   Nothing in this Order abridges the right of any person to seek its

            modification by the Court in the future. Any Party, entity or person covered

            by this Order may at any time apply to the Court for relief from any

            provision of this Order. Subject to the agreement of the Parties or an order

            of the Court, other entities or persons may be included in this Order by

            acceding to its provisions in a writing served upon Plaintiffs’ Co-Lead

            Counsel and Defendants’ Liaison Counsel, with such writings to be filed

            with the Court if so directed. The Parties expressly reserve all rights to seek

            further protection.

      58.   By stipulating to the entry of this Order, no Party waives any right it

            otherwise would have to object to disclosing or producing any information

            or item on any ground not addressed in this Order. Similarly, no Party


                                    Page 26 of 31
Case 3:21-md-03004-NJR Document 218 Filed 08/11/21 Page 27 of 31 Page ID #133




            waives any right to object on any ground to use in evidence of any of the

            material covered by this Order.

      59.   Nothing in this Order shall modify the law regarding the attorney-client

            privilege, the attorney work product doctrine, the joint defense privilege,

            and any other applicable privilege or protection from disclosure to the

            extent such privilege or protection exists under applicable law.

      60.   Entering into, agreeing, and/or complying with the terms of this Order

            shall not: (a) operate as an admission by any Party that any particular

            documents, material, or information contain(s) or reflect(s) currently

            valuable trade secrets or proprietary or commercial information; or (b)

            prejudice in any way the right of a Party at any time: (i) to seek a

            determination by the Court of whether any particular document, item of

            material, or piece of information should be subject to the terms of this

            Order; (ii) to seek relief on appropriate notice from any provision(s) of this

            Order, either generally or as to any particular document, item, or piece of

            information; (iii) to object to any discovery request, including the right to

            assert that no discovery should be had of certain documents or information;

            or (iv) to seek documents or other information from any source.

      61.   Neither the existence of this Order nor any of its terms shall in any manner

            burden the right of any Defendant to assert defenses available under

            Federal Rules of Civil Procedure 8, 9, or 12 or otherwise challenge the

            sufficiency of any claim under the applicable laws. This Order and its terms


                                    Page 27 of 31
Case 3:21-md-03004-NJR Document 218 Filed 08/11/21 Page 28 of 31 Page ID #134




            are expressly limited to this matter and shall not be used as evidence or

            considered in any other matter filed against any Defendant as a waiver to

            assert defenses of any kind including, but not limited to, choice of law,

            jurisdiction and venue. Neither the existence of this Order nor any of its

            terms shall in any manner burden the right of any Defendant to assert

            defenses of any kind including, but not limited to, those available under

            Federal Rule of Civil Procedure 12(b) in any unrelated matter. All such

            defenses are expressly reserved by the Defendants.

      62.   Nothing in this Order shall require a Party to violate any applicable public

            records access, disclosure, or retention laws.

      63.   Without written permission from the Designating Party or a Court order

            secured after appropriate notice to all interested persons, a Party may not

            file in the public record in this Action any Protected Material.

      64.   In the event that any person or Party violates the terms of this Protective

            Order by disclosing personal information relating to an individual third

            party, or in the event that any person or Party breaches the terms of the

            Protective Order in a manner that requires disclosure to a third party under

            pertinent privacy laws or otherwise, it shall be the responsibility of the

            breaching Party to contact that third party and to comply with any laws or

            regulations involving breaches of Personal Information.




                                    Page 28 of 31
Case 3:21-md-03004-NJR Document 218 Filed 08/11/21 Page 29 of 31 Page ID #135




 XV.   Final Disposition

       65.   Unless otherwise ordered or agreed in writing by the Producing Party,

             within ninety (90) days after the final disposition of this Action (as defined

             by paragraph 27, above) each Receiving Party must return all Protected

             Material to the Producing Party or destroy such material, except: (1) backup

             tapes or other disaster recovery systems that are routinely deleted or

             written over in accordance with an established routine system maintenance

             practice, or (2) documents that must be preserved as government records

             or in compliance with other statutory, regulatory or legal authorities. As

             used in this subdivision, “all Protected Material” includes all copies,

             abstracts, compilations, summaries, and any other format reproducing or

             capturing any of the Protected Material. Whether the Protected Material is

             returned or destroyed, upon the written request of the Producing Party, the

             Receiving Party must submit a written certification to the Producing Party

             (and, if not the same person or entity, to the Designating Party) within a

             reasonable time after receiving the request that (1) identifies by bates

             number listing all the Protected Material that was returned or destroyed

             and (2) affirms that the Receiving Party has not retained any copies,

             abstracts, compilations, summaries or any other format reproducing or

             capturing any of the Protected Material. Notwithstanding this provision,

             lead counsel are entitled to retain an archival copy of all pleadings, motion

             papers, trial, deposition, and hearing transcripts, legal memoranda,


                                     Page 29 of 31
Case 3:21-md-03004-NJR Document 218 Filed 08/11/21 Page 30 of 31 Page ID #136




            correspondence, deposition and trial exhibits, expert reports, attorney work

            product, and consultant and expert work product, even if such materials

            contain protected material.

      IT IS SO ORDERED.

      DATED: August 11, 2021

                                              ___________________________
                                              NANCY J. ROSENSTENGEL
                                              Chief U.S. District Judge




                                   Page 30 of 31
Case 3:21-md-03004-NJR Document 218 Filed 08/11/21 Page 31 of 31 Page ID #137




                                           EXHIBIT A

              ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

        I, ____________________________________ [print or type full name], of

 ________________________________________________ [print or type full address],

 declare under penalty of perjury that I have read in its entirety and understand the

 Protective Order that was issued by the United States District Court for the Southern

 District of Illinois on ________, in the case of In re: Paraquat Products Liability Litigation,

 Case No. 3:21-MD-3004-NJR. I agree to comply with and to be bound by all the terms of

 this Protective Order and I understand and acknowledge that failure to so comply could

 expose me to sanctions and punishment in the nature of contempt. I solemnly promise

 that I will not disclose in any manner any information or item that is subject to this

 Protective Order to any person or entity except in strict compliance with the provisions

 of this Order.

        I further agree to submit to the jurisdiction of the United States District Court for

 the Southern District of Illinois for the purpose of enforcing the terms of this Protective

 Order, even if such enforcement proceedings occur after the termination of this Action.

 Date: ____________________

 City and State where sworn and signed: ____________________

 Printed Name: ____________________

 Signature: ____________________




                                         Page 31 of 31
